Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 1 of 54
       DEBORAH KOBZA· Confidential                             December 18, 2019
       IRA KLEIMAN vs CRAIG WRIGHT                                             1

 ·1· · · · · · · · ·UNITED STATES DISTRICT COURT
 · · · · · · · · · ·SOUTHERN DISTRICT OF FLORIDA
 ·2

 ·3

 ·4·   ·    ·   IRA KLEIMAN, as the
 · ·   ·    ·   personal representatige
 ·5·   ·    ·   of the Estate of David
 · ·   ·    ·   Kleiman, and W&K Info
 ·6·   ·    ·   Defense Research, LLC,
 · ·   ·    ·   · · · · · · · · · · · · · · CASE NO.:
 ·7·   ·    ·   · · · Plaintiffs,· · · · · ·9:18-cv-80176-BB/BR

 ·8· · · vs.

 ·9· · · CRAIG WRIGHT,

 10· · · · · · Defendant.

 11· ·_____________________________

 12

 13· · · · · · · · · ·Videotaped Deposition of

 14· · · · · · · · · · · · Deborah Kobza

 15· · · · · · · · · ·10:06 a.m. - 11:17 a.m.

 16· · · · · · · · ·Wednesday, December 18, 2019

 17· · · · · · 1301 Riverplace Boulevard, Suite 1610
 · · · · · · · · · · · Jacksonville, Florida
 18
 · · · · · · · · Sandra G. Pemberton, RPR, CRR, FPR
 19

 20

 21

 22
           Plaintiffs' Designations
 23
           Defendant's Counter-Designations
 24         Defendant's Objections

            Redacted
 25


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 2 of 54
       DEBORAH KOBZA· Confidential                             December 18, 2019
       IRA KLEIMAN vs CRAIG WRIGHT                                             2

 ·1· · · · · · · · · · APPEARANCES OF COUNSEL

 ·2

 ·3·   ·On   behalf of the Plaintiffs:
 · ·   · ·   · · · Joseph Delich, Esquire
 ·4·   · ·   · · · Velvel (Devin) Freedman, Esquire (by
 · ·   · ·   · · · · ·telephone)
 ·5·   · ·   · · · Kyle W. Roche, Esquire (by telephone)
 · ·   · ·   · · · ROCHE FREEDMAN LLP
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 · ·   · ·   · · · Brooklyn, New York 11249
 ·7·   · ·   · · · 929.457.0051
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 ·8

 ·9·   ·On   behalf of the Defendant:
 · ·   · ·   · · · Bryan Paschal, Esquire
 10·   · ·   · · · RIVERO MESTRE LLP
 · ·   · ·   · · · 2525 Ponce de Leon Boulevard, Suite 1000
 11·   · ·   · · · Coral Gables, Florida 33134
 · ·   · ·   · · · 305.445.2500
 12·   · ·   · · · bpaschal@riveromestre.com

 13

 14
 · · ·Also Present:
 15
 · · · · · · · Kenneth S. Sarsony, Videographer
 16

 17

 18

 19

 20

 21

 22

 23

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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 3 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                              3

 ·1· · · · · · · · · · · · · · INDEX
 ·2· ·EXAMINATIONS· · · · · · · · · · · · · · · · · · · ·PAGE
 ·3· · ·DIRECT EXAMINATION BY MR. DELICH· · · · · · · · · · · 5
 ·4· · ·CROSS EXAMINATION BY MR. PASCHAL· · · · · · · · · · ·33
 ·5· · ·REDIRECT EXAMINATION BY MR. DELICH· · · · · · · · · ·48
 ·6
 ·7· ·DESCRIPTION OF EXHIBITS
 ·8· ·EXHIBIT· · · · · · · · · · DESCRIPTION· · · · · · ·PAGE
 ·9· · ·Plaintiffs' Exhibit-1· · · Emails· · · · · · · · · · ·9
 10· · ·Plaintiffs' Exhibit-2· · · Emails· · · · · · · · · · 12
 11· · ·Plaintiffs' Exhibit-3· · · Email· · · · · · · · · · ·15
 12· · ·Plaintiffs' Exhibit-4· · · Emails· · · · · · · · · · 20
 13· · ·Plaintiffs' Exhibit-5· · · Intellectual Property· · ·22
 14· · · · · · · · · · · · · · · · License
 15· · ·Plaintiffs' Exhibit-6· · · ATO Document· · · · · · · 27
 16· · ·Plaintiffs' Exhibit-7· · · Plaintiffs' Rule· · · · · 36
 17· · · · · · · · · · · · · · · · 26(A)(1) First Amended
 18· · · · · · · · · · · · · · · · Initial Disclosures
 19· · ·Plaintiffs' Exhibit-8· · · Emails· · · · · · · · · · 39
 20
 21· · · · · · ·(Original exhibits attached to the original
 22· ·transcript.)
 23
 24
 25


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 4 of 54
     DEBORAH KOBZA· Confidential                               December 18, 2019
     IRA KLEIMAN vs CRAIG WRIGHT                                               4

 ·1· · · · · · THE VIDEOGRAPHER:· This is disc No. 1 to the
 ·2· · · ·videotaped deposition of Deborah Kobza in the
 ·3· · · ·matter of Kleiman versus Wright, being heard before
 ·4· · · ·the U.S. District Court, Southern District of
 ·5· · · ·Florida, Case No. 9:18-CV-80176-BB/BR.
 ·6· · · · · · This deposition is being held at Esquire
 ·7· · · ·Deposition Solutions, 1301 Riverplace Boulevard,
 ·8· · · ·Suite 1610, Jacksonville, Florida, 32207, on
 ·9· · · ·December 18th, 2019.· The time is approximately
 10· · · ·10:06 a.m.
 11· · · · · · The court reporter is Sandi Pemberton.· My name
 12· · · ·is Kenneth S. Sarsony, the videographer.
 13· · · · · · Counsel, please introduce yourselves and
 14· · · ·affiliations and then the witness will be sworn.
 15· · · · · · MR. DELICH:· This is Joseph Delich from Roche
 16· · · ·Freedman for the plaintiffs.
 17· · · · · · MR. PASCHAL:· Bryan Paschal -- go ahead.
 18· · · · · · MR. ROCHE:· Kyle Roche, plaintiff.
 19· · · · · · MR. PASCHAL:· Bryan Paschal for defendant.
 20· · · · · · · · · · · · Deborah Kobza,
 21· ·having been produced and first duly sworn as a witness,
 22· ·testified as follows:
 23· · · · · · THE WITNESS:· I do.
 24· · · · · · THE REPORTER:· Thank you.
 25· · · · · · THE VIDEOGRAPHER:· Thank you, Counselor.


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    Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 5 of 54
         DEBORAH KOBZA· Confidential                               December 18, 2019
         IRA KLEIMAN vs CRAIG WRIGHT                                               5

     ·1· · · · · · · · · · ·DIRECT EXAMINATION
     ·2· ·BY MR. DELICH:
     ·3· · · ·Q.· ·So, Ms. Kobza, can you state your name and
     ·4· ·date of birth for the record?
     ·5· · · ·A.· ·Deborah Kobza,
     ·6· · · ·Q.· ·And what is your home address?
     ·7· · · ·A.·
     ·8· · · ·Q.· ·Have you ever been deposed before?
R
     ·9· · · ·A.· ·No.
     10· · · ·Q.· ·So you understand that you're under oath and
     11· ·you've sworn to tell the truth?
     12· · · ·A.· ·Absolutely.
     13· · · · · · MR. DELICH:· Hi.· Who just joined?
     14· · · · · · MR. FREEDMAN:· Vel.
     15· ·BY MR. DELICH:
     16· · · ·Q.· ·So it's just like you're in a courtroom before
     17· ·a judge.

R    18· · · ·A.· ·Uh-huh.
     19· · · ·Q.· ·And so you understand your examination is
     20· ·being recorded for that purpose and may be shown to a
     21· ·jury at some point?
     22· · · ·A.· ·Yes.
     23· · · ·Q.· ·Are you currently taking any medications right
     24· ·now?
     25· · · ·A.· ·No.


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    Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 6 of 54
         DEBORAH KOBZA· Confidential                               December 18, 2019
         IRA KLEIMAN vs CRAIG WRIGHT                                               6

     ·1· · · ·Q.· ·Is there anything that would impair your
     ·2· ·ability to tell the truth at this deposition today?
     ·3· · · ·A.· ·No.
     ·4· · · ·Q.· ·If I ask you a question and you don't
     ·5· ·understand it, please just ask me to repeat it or -- or
     ·6· ·rephrase it.
R
     ·7· · · ·A.· ·Uh-huh.
     ·8· · · ·Q.· ·If you don't ask me to repeat it or rephrase
     ·9· ·it, I'm going to assume that you understood the
     10· ·question and we'll rely on that.
     11· · · ·A.· ·Okay.
     12· · · ·Q.· ·Does that make sense?
     13· · · ·A.· ·Uh-huh.
     14· · · ·Q.· ·I'm also going to ask, for the sake of the
     15· ·court reporter here, that whenever you respond to
     16· ·questions, that you do with a yes, no, or a verbal
     17· ·response rather than a nodding or a shaking, so --
     18· · · ·A.· ·Okay.
     19· · · ·Q.· ·And sometimes, either myself or my colleague
     20· ·here might object to a question, but you should just
     21· ·feel free to go ahead and answer the question unless
     22· ·you're specifically instructed not to by one of us.
     23· · · ·A.· ·Okay.
     24· · · ·Q.· ·We make objections to preserve them for the
     25· ·record, but they're not intended to interrupt you or


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    Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 7 of 54
         DEBORAH KOBZA· Confidential                               December 18, 2019
         IRA KLEIMAN vs CRAIG WRIGHT                                               7

     ·1· ·prevent you from answering the question for the most
     ·2· ·part.· Does that make sense?
     ·3· · · ·A.· ·Uh-huh.
     ·4· · · ·Q.· ·All right.· So have you always lived in
     ·5· ·Florida?
     ·6· · · ·A.· ·No.
     ·7· · · ·Q.· ·So how long have you lived in Florida?
     ·8· · · ·A.· ·Probably close to 20 years.
     ·9· · · ·Q.· ·Okay.· And did you attend any college or
     10· ·university?
     11· · · ·A.· ·No, just seminar courses.
     12· · · ·Q.· ·Okay.· Now, you're aware this deposition is
     13· ·being taken in connection with an active litigation?
     14· · · ·A.· ·Yes, but I don't understand all that's going
     15· ·on because it was all a surprise to me when I got a
     16· ·phone call.
     17· · · ·Q.· ·So have you communicated with anyone about the
     18· ·litigation?
     19· · · ·A.· ·I communicated with someone calling me from
     20· ·Miami, I guess, through your offices.· And I got a call
H    21· ·from somebody saying that they were representing Mr.
     22· ·Wright, Craig Wright, but --
     23· · · ·Q.· ·Do you remember -- do you remember the name of
     24· ·the person you talked to who was representing Mr.
     25· ·Wright?


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             Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 8 of 54
                  DEBORAH KOBZA· Confidential                               December 18, 2019
                  IRA KLEIMAN vs CRAIG WRIGHT                                               8

              ·1· · · ·A.· ·No, because I didn't continue the
              ·2· ·conversation.
              ·3· · · ·Q.· ·And what did that conversation consist of?
      H

              ·4· · · ·A.· ·They were wanting to know if I would speak on
              ·5· ·behalf of Mr. Wright.
      H       ·6· · · ·Q.· ·And what did you say?
              ·7· · · ·A.· ·I said no, because from what I understood,
UP-S-LEC-H    ·8· ·that he was committing fraud and identity theft on --
              ·9· ·on me, you know, with whatever he was doing.· At least
              10· ·from what I understood to date.· So I did not want to
              11· ·represent him.
              12· · · ·Q.· ·So what did you -- can you describe more your
              13· ·understanding of -- of what had happened up to that
              14· ·point?
              15· · · ·A.· ·All I know from talking to the person, I
              16· ·guess, from your office, I got a couple of calls, if I
              17· ·remember correctly, that Ira Kleiman's brother was in
  PK-H-F
              18· ·business with Craig Wright on some type of
              19· ·cryptocurrency thing and whatever trust or whatever
              20· ·that they had opened up or Craig Wright had opened up,
              21· ·that Ira Kleiman -- I mean, the brother had died and
              22· ·his estate was -- was suing to, I guess, split those
              23· ·funds or what was left, you know.· I don't really know
              24· ·anything more than that.
 UP-S-LEC     25· · · ·Q.· ·Okay.· And so what did you mean when you


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           Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 9 of 54
                DEBORAH KOBZA· Confidential                               December 18, 2019
                IRA KLEIMAN vs CRAIG WRIGHT                                               9
UP-S-LEC
 PK-H-F
            ·1· ·referred to identity theft earlier?
            ·2· · · ·A.· ·Well, as I understood in talking to people
            ·3· ·from, I guess it was, your office out of Miami, that a
            ·4· ·trust had been opened up in the name of GICSR, and that
            ·5· ·was the first I had ever heard about that.· So if that

  S-LEC     ·6· ·was the case, then, if my identity, personal or
 H-PK-F
            ·7· ·organization identity, had been compromised and
            ·8· ·something set up like that, that -- I work in cyber
            ·9· ·security and -- and security and that's -- in my mind,
            10· ·that's identity theft and fraud, to set something up
            11· ·that you don't have the authority to do.
            12· · · ·Q.· ·And so you referenced GICSR?
            13· · · ·A.· ·Uh-huh.
            14· · · ·Q.· ·What is that?
            15· · · ·A.· ·It was a small nonprofit organization that
            16· ·worked on best practice research.
            17· · · ·Q.· ·And what was your relationship to that?
            18· · · ·A.· ·I founded it, stood it up.
            19· · · ·Q.· ·And do you remember when you did that, when it
            20· ·was founded?
            21· · · ·A.· ·Gosh, I'd have to go back and look.· I should
            22· ·have looked.· It was probably in 2011, 2010.· I'm not
            23· ·quite sure.· I'd have to go back and look.
            24· · · ·Q.· ·So I have here what we'll mark as Exhibit 1.
   H

            25· · · · · · (Plaintiff's Exhibit-1 was marked for


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         Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 10 of 54
                DEBORAH KOBZA· Confidential                             December 18, 2019
                IRA KLEIMAN vs CRAIG WRIGHT                                            10

           ·1· · · ·identification.)
           ·2· ·BY MR. DELICH:
           ·3· · · ·Q.· ·I'll hand this here to you.
           ·4· · · ·A.· ·(The document was examined.)
           ·5· · · ·Q.· ·Now, do you recognize this document?
           ·6· · · ·A.· ·Wait a minute.· I have to look at it first.
           ·7· · · · · · (The document was examined.)
           ·8· · · ·Q.· ·Take your time.
           ·9· · · · · · MR. DELICH:· For the record, this exhibit is
           10· · · ·Bates stamped DEFAUS 01064605.
F-Inc. Desig.
   H
           11· · · ·A.· ·(The document was examined.)
           12· · · · · · I don't remember.· I mean, obviously, it's an
           13· ·email.· I don't remember the exact email, but, you
           14· ·know, the 2011 time frame is about right, but the -- it
           15· ·was an initiative that -- that I was wanting to stand
           16· ·up before I even spoke to Richard Zaluski.· I was
           17· ·introduced -- I don't know if you know how I know him
           18· ·or anything.
           19· ·BY MR. DELICH:
           20· · · ·Q.· ·So -- so this email references GICSR starting
           21· ·around early 2010?· Does that -- does this --
           22· · · ·A.· ·2010, 2011.· I'd have to go back out and look
           23· ·to see exactly when it was stood up as a -- you know,
           24· ·here in the state of Florida.
           25· · · ·Q.· ·So -- and -- so in broad strokes, what was the


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 11 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             11

 ·1· ·purpose of GICSR?
 ·2· · · ·A.· ·The purpose was to work on best practice
 ·3· ·research and education.· At that time, there wasn't a
 ·4· ·lot -- it wasn't called cyber security, it was called
 ·5· ·IT security at that time, and there wasn't a lot going
 ·6· ·on in that area.· And it was to try to bring industry
 ·7· ·representatives together, academic representatives
 ·8· ·together, and work on best practice that industry and
 ·9· ·government could use and underpin that with education.
 10· ·That was the purpose.
 11· · · ·Q.· ·So I'm going to direct your attention to the
 12· ·recipients on that email.
 13· · · ·A.· ·Uh-huh.
 14· · · ·Q.· ·Do you see that one of them is
 15· ·Craig.Wright@GICSR.org?
 16· · · ·A.· ·Yes, so I was introduced to Mr. Wright by Mr.
 17· ·Zaluski.
 18· · · ·Q.· ·So is -- so that email address you understand
 19· ·to belong to the defendant in this case, Craig Wright?
 20· · · ·A.· ·Yeah, I set up the email address for him in
 21· ·order to help bring in people, sponsors, companies
 22· ·to -- you know, to help work on the best practice
 23· ·initiative.
 24· · · ·Q.· ·So what was Mr. Wright's relationship to GICSR
 25· ·at that point in time?


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 12 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             12

 ·1· · · ·A.· ·He was, I'd say, a consultant to help.
 ·2· ·Because at that time, I understood and had gone out and
 ·3· ·checked that he did do work and all for a university in
 ·4· ·Australia and that he could be instrumental in helping
 ·5· ·to bring in, you know, industry and academic
 ·6· ·representatives to comprise working groups and things
 ·7· ·that -- you know, to work on the best practice
 ·8· ·research.
 ·9· · · ·Q.· ·So I'm now going to have what we're going to
 10· ·mark as Plaintiff's Exhibit 2.
 11· · · · · · (Plaintiff's Exhibit-2 was marked for
 12· · · ·identification.)
 13· · · ·A.· ·(The document was examined.)
 14· ·BY MR. DELICH:
 15· · · ·Q.· ·So this is not an email you received, but do
 16· ·you recognize the individuals involved in this email?
 17· · · ·A.· ·I know Richard Zaluski and I know of Craig
 18· ·White [sic].
 19· · · ·Q.· ·And I'm going to direct your attention to the
 20· ·email -- the message at the bottom of the first page.
 21· · · ·A.· ·Uh-huh.· Okay.· That was from Richard Zaluski
 22· ·to Craig White?
 23· · · ·Q.· ·Uh-huh.· And it said it invited Mr. Wright to
 24· ·be on the board of directors for GICSR.
 25· · · ·A.· ·No in that --


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    Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 13 of 54
          DEBORAH KOBZA· Confidential                              December 18, 2019
          IRA KLEIMAN vs CRAIG WRIGHT                                             13

     ·1· · · · · · MR. PASCHAL:· Objection, form.
     ·2· · · · · · THE WITNESS:· Oh, I'm sorry.
     ·3· ·BY MR. DELICH:
     ·4· · · ·Q.· ·So -- so in that email, Mr. Zaluski said he
     ·5· ·had spoken with the GICSR management team.· Do you see
     ·6· ·where it says that?
     ·7· · · ·A.· ·Yeah, on that first paragraph.
     ·8· · · ·Q.· ·Are you aware of any conversations that Mr.
     ·9· ·Zaluski had about bringing Mr. Wright onto the board of
     10· ·directors?
     11· · · ·A.· ·Bringing Mr. Zaluski on?
     12· · · ·Q.· ·So were you involved in any conversations with
     13· ·Mr. Zaluski about inviting Mr. Wright to be on the
     14· ·board of directors?
     15· · · ·A.· ·There were conversations because what I had
     16· ·told Richard was that to set them up on the board of
R
     17· ·advisors because I was making a distinction between a
     18· ·board of advisors and a board of directors.· That
     19· ·anybody on the board of directors for GICSR was not
     20· ·international, they had to be in the U.S., and, you
     21· ·know, I wasn't bringing anybody on the board of
     22· ·directors.· That they would be on the board of
     23· ·advisors, but would have no governance, control, or
     24· ·authority over the organization.
     25· · · ·Q.· ·So --


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    Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 14 of 54
          DEBORAH KOBZA· Confidential                              December 18, 2019
          IRA KLEIMAN vs CRAIG WRIGHT                                             14

R
     ·1· · · ·A.· ·So they were never set up on the board of
     ·2· ·directors.
     ·3· · · ·Q.· ·Okay.· So this refers -- so your understanding
     ·4· ·is that Craig Wright was on the board of advisors for
     ·5· ·GICSR.
     ·6· · · ·A.· ·For the international research thing, he was,
     ·7· ·like, an advisor to help bring in companies and all for
     ·8· ·that, but they were never on the board of directors.                   I
     ·9· ·mean, that's easily checked.
     10· · · ·Q.· ·And do you recall when Craig first became
     11· ·involved with GICSR in that capacity?
     12· · · ·A.· ·I'm trying to remember.· I know I had a lot
     13· ·more conversations with Richard Zaluski than I did with
     14· ·Mr. Wright because Mr. Zaluski was the, I guess,
     15· ·conduit, you know, out to reach out to him, so I talked
     16· ·to him more, but I would say that we were talking about
     17· ·that through 2011, maybe early 2012, but -- but Mr.
     18· ·Zaluski did not have any authority to invite anyone to
     19· ·be on the board of directors for GICSR.· He didn't have
     20· ·any authority to do that.
     21· · · ·Q.· ·And at some point, did Craig stop serving on
     22· ·the board of advisors for GICSR?
     23· · · ·A.· ·He just kind of -- it just kind of fizzled.
     24· ·The research project kind of never went anywhere and it
     25· ·just kind of fizzled away and then I never heard from


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 15 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             15

 ·1· ·him anymore.
 ·2· · · ·Q.· ·And do you remember around the last time you
 ·3· ·heard from him?
 ·4· · · ·A.· ·I'm not sure, but I -- because, like I said, I
 ·5· ·lost all my computers and documents in the hurricane,
 ·6· ·Hurricane Matthew, when it came through.
 ·7· · · ·Q.· ·So --
 ·8· · · ·A.· ·I think -- I'm not really sure.
 ·9· · · ·Q.· ·I have here what we're going to mark as
 10· ·Plaintiff's Exhibit 3.
 11· · · · · · (Plaintiff's Exhibit-3 was marked for
 12· · · ·identification.)
 13· · · ·A.· ·(The document was examined.)
 14· ·BY MR. DELICH:
 15· · · ·Q.· ·And do you recognize this document?
 16· · · ·A.· ·I don't remember it, but -- I mean, I -- it
 17· ·could be there.· It doesn't have a date on it or
 18· ·anything.
 19· · · ·Q.· ·So I'll represent to you that -- well, it
 20· ·didn't print out the metadata for this email.· It shows
 21· ·that it was sent --
 22· · · · · · MR. PASCHAL:· Objection, form.
 23· ·BY MR. DELICH:
 24· · · ·Q.· ·-- on February 26th, 2012.
 25· · · ·A.· ·That's what I was going to say because I


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 16 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             16

 ·1· ·mentioned, you know, maybe 2012, but, like I said, I
 ·2· ·don't -- I don't specifically remember this, but I do
 ·3· ·know that, you know, he says he hasn't seen anything
 ·4· ·from GICSR for some time because that was because we
 ·5· ·weren't getting -- I wasn't getting anything -- you
 ·6· ·know, organizations that would participate maybe that
 ·7· ·he had reached out to.· There wasn't anything to
 ·8· ·discuss.
 ·9· · · · · · And he really didn't need to resign, it was
 10· ·just -- you know, just advising that he didn't want to
 11· ·serve on the advisory board anymore, so I guess that's
 12· ·one and the same thing.
 13· · · ·Q.· ·Okay.· Now -- so during the time about,
 14· ·roughly, a year that you're saying Craig was involved
 15· ·on the board of advisors --
 16· · · ·A.· ·Uh-huh.
 17· · · ·Q.· ·-- for GICSR, did he ever mention an
 18· ·individual named David Kleiman?
 19· · · ·A.· ·I do not remember a David Kleiman, no.
 20· · · ·Q.· ·So were you -- when did you first become aware
 21· ·of an individual named David Kleiman?
 22· · · ·A.· ·Like I said, I don't remember anybody named
 23· ·David Kleiman.· I believe it was in the conversation
 24· ·with somebody from your office that called me and was
 25· ·giving me the background on what was going on, but I


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 17 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             17

 ·1· ·don't specifically remember anybody.· Unless he -- I
 ·2· ·don't know if he was copied on an email that was sent
 ·3· ·to me, but I don't remember him specifically.
 ·4· · · ·Q.· ·So you don't recall ever meeting David
 ·5· ·Kleiman?
 ·6· · · · · · MR. PASCHAL:· Objection, form.
 ·7· · · ·A.· ·Not unless he attended a conference or
 ·8· ·something that we had.· I don't remember.
 ·9· ·BY MR. DELICH:
 10· · · ·Q.· ·Did GICSR ever conduct business with an
 11· ·individual named David Kleiman?
 12· · · ·A.· ·No.· Was there a company that he worked for?
 13· · · ·Q.· ·So are you -- do you recognize a company named
 14· ·W&K Info Defense Research?
 15· · · ·A.· ·No.
 16· · · ·Q.· ·Are you aware whether anybody else at GICSR
 17· ·was communicating with David Kleiman?
 18· · · · · · MR. PASCHAL:· Objection, form.
 19· · · ·A.· ·You said I could go ahead and answer?
 20· ·BY MR. DELICH:
 21· · · ·Q.· ·Uh-huh.
 22· · · ·A.· ·Okay.· No, because I was the only one, you
 23· ·know, doing the operations for GICSR.· The only other
 24· ·person that I worked with on this best practice
 25· ·initiative with Richard Zaluski was Gene Fredriksen,


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 18 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             18

 ·1· ·who is a colleague I've known for a long time.· I don't
 ·2· ·know if he ever talked to them or not, but he wasn't
 ·3· ·employed by or -- you know.
 ·4· · · ·Q.· ·Are you familiar with the term blockchain?
 ·5· · · ·A.· ·Oh, yes.
 ·6· · · ·Q.· ·When did you first become familiar -- aware of
 ·7· ·the term blockchain?
 ·8· · · ·A.· ·Gosh.· Maybe around, I don't know -- it's been
 ·9· ·in the last few years because, you know, I -- I work in
 10· ·cyber security and do consulting and also blockchain is
 11· ·a part of that, but it's only been in the last few
 12· ·years.· I don't know how long it's been around, but I
 13· ·can't pinpoint an exact date when I heard that term.
 14· · · ·Q.· ·So would you -- would it have been -- let's
 15· ·try it this way.
 16· · · ·A.· ·Uh-huh.
 17· · · ·Q.· ·Do you -- had you heard of blockchain before
 18· ·2013?
 19· · · ·A.· ·I doubt it very seriously, yeah.
 20· · · ·Q.· ·Are you familiar with Bitcoin?
 21· · · ·A.· ·Yes, of course, yeah, everybody is.
 22· · · ·Q.· ·And do you remember when you first became
 23· ·aware of Bitcoin?
 24· · · ·A.· ·Just reading articles about it and research
 25· ·and stuff I did on cyber security and about


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    Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 19 of 54
          DEBORAH KOBZA· Confidential                              December 18, 2019
          IRA KLEIMAN vs CRAIG WRIGHT                                             19

     ·1· ·cryptocurrency and how Bitcoin might be the, you know,
     ·2· ·currency of the future, at least on the internet.· So
     ·3· ·it was just in my own personal research.
     ·4· · · ·Q.· ·And do you remember when, approximately,
     ·5· ·that -- that you first encountered the concept of
     ·6· ·Bitcoin?
     ·7· · · ·A.· ·I guess when it was being talked about in the
     ·8· ·news.· I mean, that's been several years back.
     ·9· · · ·Q.· ·Okay.· Did Bitcoin or blockchain ever come up
     10· ·in connection with your work at GICSR?
     11· · · ·A.· ·No.· Other than -- well, we never even got to
     12· ·that point with the best practice project because it
     13· ·fizzled before that came out, but talking about IT
     14· ·security best practice, you know, cryptocurrency would
     15· ·come into that at some point, but just from a best
     16· ·practice perspective.
     17· · · ·Q.· ·So as part of your work with GICSR, did you
R    18· ·ever create any trusts?
     19· · · ·A.· ·No.
     20· · · ·Q.· ·You -- did you ever create any sort of vehicle
     21· ·for the purpose of holding assets offshore?
     22· · · ·A.· ·Oh, my gosh, no.
     23· · · ·Q.· ·Did you ever collaborate with Mr. Wright to
     24· ·create or establish any kind of vehicle for assets?
     25· · · ·A.· ·No.


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       Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 20 of 54
             DEBORAH KOBZA· Confidential                              December 18, 2019
             IRA KLEIMAN vs CRAIG WRIGHT                                             20

        ·1· · · ·Q.· ·Has Craig Wright ever communicated to -- any
        ·2· ·information to you about his ownership of Bitcoin?
        ·3· · · ·A.· ·No.· The only time I knew about that was when
        ·4· ·someone from your office, I assume, called me to tell
        ·5· ·me about this lawsuit.
        ·6· · · · · · MR. DELICH:· What are we on?
        ·7· · · · · · THE REPORTER:· 4.
        ·8· ·BY MR. DELICH:
        ·9· · · ·Q.· ·So I'm going to hand you what we're going to
 H-F

        10· ·mark as Plaintiff's Exhibit 4.
        11· · · · · · (Plaintiff's Exhibit-4 was marked for
        12· · · ·identification.)
        13· · · ·A.· ·(The document was examined.)
        14· ·BY MR. DELICH:
        15· · · ·Q.· ·This is an email that Mr. Wright sent to one
        16· ·of David Kleiman's coworkers --
        17· · · ·A.· ·Uh-huh.
        18· · · ·Q.· ·-- after Dave had died.
        19· · · · · · MR. PASCHAL:· Objection to that colloquy.
H-F     20· · · ·A.· ·(The document was examined.)
        21· ·BY MR. DELICH:
        22· · · ·Q.· ·So what I want to direct your attention to --
        23· · · ·A.· ·Uh-huh.
        24· · · ·Q.· ·-- is towards the top of the page --
        25· · · ·A.· ·Uh-huh.


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      Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 21 of 54
            DEBORAH KOBZA· Confidential                              December 18, 2019
            IRA KLEIMAN vs CRAIG WRIGHT                                             21

       ·1· · · ·Q.· ·-- where Craig Wright wrote GICSR trust.
       ·2· · · ·A.· ·Uh-huh.
       ·3· · · ·Q.· ·Do you know what that might refer to?
       ·4· · · ·A.· ·No.
       ·5· · · · · · MR. PASCHAL:· Objection, form.
       ·6· · · ·A.· ·Others than -- wait a minute.· Other than what
       ·7· ·has been told to me by your office.
       ·8· ·BY MR. DELICH:
       ·9· · · ·Q.· ·Do you recognize the numbers below that,
       10· ·274997114?
       11· · · ·A.· ·No, not -- not off -- not offhand.· I don't
       12· ·know that that was GICSR's EIN number or not, but I
       13· ·don't -- I'd have to look it up.
       14· · · ·Q.· ·So but sitting here today, those numbers have
       15· ·no significance to you?
       16· · · ·A.· ·No, I'd have to kind of validate what that is.
       17· · · ·Q.· ·And what about below that where it says
       18· ·TTA-1-14?
       19· · · ·A.· ·I have no idea what that is.
       20· · · ·Q.· ·And below that, it mentions Belize?
F-H

       21· · · ·A.· ·Uh-huh.
       22· · · ·Q.· ·Does Belize have any special meaning to you in
       23· ·this context?
       24· · · · · · MR. PASCHAL:· Objection, form.
       25· ·BY MR. DELICH:


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           Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 22 of 54
                 DEBORAH KOBZA· Confidential                              December 18, 2019
                 IRA KLEIMAN vs CRAIG WRIGHT                                             22

            ·1· · · ·Q.· ·So did GICSR ever have any business dealings
            ·2· ·connected to Belize?

     R
            ·3· · · ·A.· ·Never.
            ·4· · · ·Q.· ·Have you ever been to Belize?
            ·5· · · ·A.· ·No.
            ·6· · · ·Q.· ·Do you know anybody who's been to Belize?
            ·7· · · · · · MR. PASCHAL:· Objection, form.
 R          ·8· · · ·A.· ·I don't think so, no.
            ·9· ·BY MR. DELICH:
            10· · · ·Q.· ·No?
            11· · · · · · Now, did GICSR ever enter into any intellectual
            12· ·property agreements?
            13· · · ·A.· ·No.
            14· · · ·Q.· ·Have you ever heard of a company Cloudcroft
  R
            15· ·Party Limited?
            16· · · ·A.· ·No.
            17· · · ·Q.· ·Have you ever entered into any kind of
            18· ·agreement with Mr. Wright?
            19· · · ·A.· ·No, other than him, you know, working on
            20· ·that -- I don't know if we call it an agreement, but,
            21· ·you know, trying to help bring people in for that best
            22· ·practice research project.· That was it.
            23· · · ·Q.· ·So I'm going to hand you what we're going to
H-Auth-R

            24· ·mark as Plaintiff Exhibit 5.
            25· · · · · · (Plaintiff's Exhibit-5 was marked for


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        Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 23 of 54
              DEBORAH KOBZA· Confidential                              December 18, 2019
              IRA KLEIMAN vs CRAIG WRIGHT                                             23

         ·1· · · ·identification.)
         ·2· · · ·A.· ·(The document was examined.)
         ·3· ·BY MR. DELICH:
         ·4· · · ·Q.· ·So have you ever seen this document before?
         ·5· · · ·A.· ·No.
         ·6· · · ·Q.· ·I'm going to call your attention to below
         ·7· ·parties --
         ·8· · · ·A.· ·Uh-huh.
H-F-R
         ·9· · · ·Q.· ·-- where it says Craig Wright R&D.
         10· · · ·A.· ·Uh-huh.
         11· · · ·Q.· ·Are you familiar with an entity by that -- by
         12· ·that name?
         13· · · ·A.· ·Craig Wright R&D?
         14· · · ·Q.· ·Yes.
         15· · · ·A.· ·No.
         16· · · · · · Can I ask a question about the line underneath
         17· ·it?· I don't know what CSCSS is.
         18· · · ·Q.· ·Okay.
         19· · · ·A.· ·Okay.· So -- okay.· Sorry.
         20· · · ·Q.· ·So -- you're okay.
         21· · · · · · So I'm going to ask you to turn to page 2.
H-F-R

         22· · · ·A.· ·Okay.
         23· · · ·Q.· ·And do you see the date?· It says August 22nd,
         24· ·2013 at the top?
         25· · · ·A.· ·Uh-huh.


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          Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 24 of 54
                DEBORAH KOBZA· Confidential                              December 18, 2019
                IRA KLEIMAN vs CRAIG WRIGHT                                             24

           ·1· · · ·Q.· ·And so this is about a year after Craig's
           ·2· ·involvement with GICSR had ended?
F-R-H
           ·3· · · ·A.· ·Uh-huh.· Uh-huh.
           ·4· · · ·Q.· ·Do you see where it says, "GICSR (acting
           ·5· ·through Craig Wright R&D)"?
           ·6· · · ·A.· ·Yeah, at the top underneath, "Between," yeah.
           ·7· · · ·Q.· ·Are you aware of GICSR ever acting through
           ·8· ·Craig Wright?
           ·9· · · ·A.· ·Never.
      R

           10· · · ·Q.· ·Or through an entity called Craig Wright R&D?
           11· · · ·A.· ·Never.
           12· · · ·Q.· ·Would Craig Wright have been -- was Craig
           13· ·Wright ever authorized to enter into contracts on
           14· ·behalf of GICSR?
           15· · · ·A.· ·No.
           16· · · ·Q.· ·So I'm going to ask you to turn to page 7.
  R-H-F    17· · · ·A.· ·(The document was examined.)
           18· · · ·Q.· ·So do you see at the bottom there's a
           19· ·reference to a license fee?
           20· · · ·A.· ·Uh-huh.
           21· · · ·Q.· ·And I'm going to ask you to turn to page 11.
  H
           22· · · ·A.· ·(The document was examined.)
           23· · · · · · Uh-huh.
           24· · · ·Q.· ·And do you see there's --
           25· · · ·A.· ·Wow.


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        Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 25 of 54
              DEBORAH KOBZA· Confidential                              December 18, 2019
              IRA KLEIMAN vs CRAIG WRIGHT                                             25

         ·1· · · ·Q.· ·-- a number?
         ·2· · · ·A.· ·Where it says, "License fee"?
         ·3· · · ·Q.· ·Yes.
 H
         ·4· · · ·A.· ·Yes.
         ·5· · · ·Q.· ·What is that number?
         ·6· · · ·A.· ·It looks to be -- God, $28,181,818.18.
         ·7· · · ·Q.· ·Would this have been a notable transaction for
         ·8· ·GICSR to engage in?· Would this -- let me --
         ·9· · · ·A.· ·Yeah, I mean --
         10· · · ·Q.· ·Strike that.
         11· · · · · · So did GICSR ever engage in business
         12· ·transactions?
         13· · · ·A.· ·Can you define, like, business transactions?

 R
         14· ·I mean, because we had people -- we did consulting and
         15· ·had people sponsor workshops and things like that,
         16· ·but...
         17· · · ·Q.· ·Let me ask this:· How many times did GICSR
         18· ·make a multimillion-dollar purchase?
         19· · · ·A.· ·Never.
         20· · · ·Q.· ·Do you see next to, "Product," where it says,
         21· ·"ACSEO program IP and code"?
R-H-F
         22· · · ·A.· ·Uh-huh.
         23· · · ·Q.· ·Does that have any significance to you?
         24· · · ·A.· ·No.· I mean, I know in the context of this, IP
         25· ·would mean intellectual property?· Is that what that


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        Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 26 of 54
              DEBORAH KOBZA· Confidential                              December 18, 2019
              IRA KLEIMAN vs CRAIG WRIGHT                                             26

         ·1· ·refers to?
         ·2· · · ·Q.· ·So --
         ·3· · · ·A.· ·I don't know just from -- no, I don't know
         ·4· ·what that is.
         ·5· · · ·Q.· ·So are you aware of GICSR ever licensing such
         ·6· ·a product?
         ·7· · · ·A.· ·Never.
         ·8· · · ·Q.· ·From anybody?
         ·9· · · ·A.· ·No.
         10· · · ·Q.· ·Now, I'll ask you to turn to the next page.
         11· · · ·A.· ·(The document was examined.)
         12· · · ·Q.· ·Have you ever seen this page before?
         13· · · ·A.· ·No.
         14· · · ·Q.· ·And can you see who is identified on the
         15· ·signature lines?

F-R-H
         16· · · ·A.· ·Yeah, I see Craig Wright, director, and
         17· ·through GICSR, Deborah Kobza.· I don't know if it would
         18· ·have executive director, NH-ISAC there.· That's a
         19· ·completely different organization.· So I don't
         20· ·understand why that's there.
         21· · · ·Q.· ·So is that your signature?
         22· · · ·A.· ·No, it's not.
         23· · · ·Q.· ·Does it resemble your signature?
         24· · · ·A.· ·No, it doesn't.· I mean, when I -- no.· This
         25· ·definitely does not resemble my signature.


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      Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 27 of 54
            DEBORAH KOBZA· Confidential                              December 18, 2019
            IRA KLEIMAN vs CRAIG WRIGHT                                             27

       ·1· · · ·Q.· ·I'm going to show you another exhibit which
       ·2· ·we're going to mark as Plaintiff's Exhibit 6.
F-H
       ·3· · · · · · (Plaintiff's Exhibit-6 was marked for
       ·4· · · ·identification.)
       ·5· · · · · · MR. PASCHAL:· I'm marking this portion of the
       ·6· · · ·deposition as confidential since we're using
       ·7· · · ·confidential documents.
       ·8· ·BY MR. DELICH:
       ·9· · · ·Q.· ·So have you ever seen this document before?
       10· · · ·A.· ·No.
       11· · · ·Q.· ·So I'll represent to you that it was -- it's a
       12· ·chart that was prepared by the Australian Tax Office.
       13· · · ·A.· ·Uh-huh.
       14· · · ·Q.· ·And I'm going to ask you to turn to page 6 of
       15· ·it.
       16· · · · · · MR. PASCHAL:· In this deposition, every time
       17· · · ·we have a document, can you not give a proffer of
       18· · · ·what you believe the document means to the witness?
       19· · · ·Can the witness just testify about the document?
       20· · · ·That's improper.
       21· · · · · · MR. DELICH:· So --
       22· · · · · · MR. PASCHAL:· It's improper coaching,
       23· · · ·absolutely.
       24· · · · · · MR. DELICH:· So say that this is --
       25· · · · · · MR. PASCHAL:· To represent what you think a


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 28 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             28

 ·1· · · ·document is to the witness is improper coaching.
 ·2· · · ·You can ask the witness does she know the document,
 ·3· · · ·has she seen the document.
 ·4· · · · · · MR. DELICH:· So -- and she has not.
 ·5· · · · · · MR. PASCHAL:· Okay.
 ·6· · · · · · MR. DELICH:· Are you disputing whether it was
 ·7· · · ·created by the Australian Tax Office?
 ·8· · · · · · MR. PASCHAL:· I'm not disputing anything.· I'm
 ·9· · · ·telling you in the deposition for every time you
 10· · · ·show a document for you to then give an explanation
 11· · · ·of what you believe that document means is improper
 12· · · ·because if she doesn't know, she doesn't know.
 13· · · · · · MR. DELICH:· Okay.
 14· · · · · · MR. FREEDMAN:· Bryan, make your objection and
 15· · · ·let Joe conduct the deposition.· It's his
 16· · · ·deposition, not yours.· He can ask whatever he
 17· · · ·wants and he can say what he wants and you can make
 18· · · ·whatever objection you want.
 19· ·BY MR. DELICH:
 20· · · ·Q.· ·So I'm going to ask you to turn to page 6, row
 21· ·12.
 22· · · ·A.· ·It's small type.
 23· · · · · · (The document was examined.)
 24· · · · · · Okay.
 25· · · ·Q.· ·So there's a sentence that says, "The software


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        Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 29 of 54
              DEBORAH KOBZA· Confidential                              December 18, 2019
              IRA KLEIMAN vs CRAIG WRIGHT                                             29

         ·1· ·concerned was clearly identified as BAA 3."
         ·2· · · · · · Do you see that?
         ·3· · · ·A.· ·Yeah, about halfway down in that first
         ·4· ·paragraph.
         ·5· · · ·Q.· ·So do you know what BAA 3 is?
         ·6· · · ·A.· ·No.
         ·7· · · ·Q.· ·So the next sentence -- so do you see the next
         ·8· ·sentence where it says, "The sale was for $31 million
         ·9· ·and the invoice states, 'Transfer based on GICSR US
         10· ·research NASA funding P2P system'"?
         11· · · ·A.· ·What?
         12· · · ·Q.· ·So do you see -- do you see that sentence?
         13· · · ·A.· ·Yes.
         14· · · ·Q.· ·So does that have any significance to you?
         15· · · ·A.· ·None whatsoever.
         16· · · ·Q.· ·Do you know what a NASA funding P2P system
         17· ·refers to?
F-R-H    18· · · ·A.· ·No.· I've never done business with NASA
         19· ·before.
         20· · · ·Q.· ·And then can you see the next sentence after
         21· ·that?
         22· · · ·A.· ·(The document was examined.)
         23· · · · · · The ASCSEO [sic] PDF, that sentence?
         24· · · ·Q.· ·Yeah.
         25· · · ·A.· ·Yeah.


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            Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 30 of 54
                  DEBORAH KOBZA· Confidential                              December 18, 2019
                  IRA KLEIMAN vs CRAIG WRIGHT                                             30

             ·1· · · ·Q.· ·Do you mind reading that sentence?
             ·2· · · ·A.· ·The AS -- ASCEO PDF provided indicates that
             ·3· ·the funding was from GICSR.
             ·4· · · ·Q.· ·So is that true?
             ·5· · · ·A.· ·No.
             ·6· · · ·Q.· ·How do you know that that's not true?
             ·7· · · ·A.· ·Because I've never -- I mean, you're saying
    H-R-F
             ·8· ·that funding of $31 million was paid?· Is that what
             ·9· ·it's saying?
             10· · · ·Q.· ·So I'll just refer you back to the document.
             11· · · ·A.· ·Okay.
             12· · · · · · (The document was examined.)
             13· · · · · · No.· I know that it's not true because, you
             14· ·know, I handled everything for GICSR.· I mean,
             15· ·there's --
             16· · · ·Q.· ·Can you define everything in a little bit more
             17· ·detail?
             18· · · ·A.· ·Well, I did the operations, I handled the bank
             19· ·account, you know, I paid out invoices, I've sent out
             20· ·invoices.· I did all of that.· There wasn't another
R
             21· ·entity that did any of that.
             22· · · ·Q.· ·Was there anybody else at GICSR who had access
             23· ·to the bank accounts?
             24· · · ·A.· ·No.
             25· · · ·Q.· ·Did GICSR have a need for any software in


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       Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 31 of 54
             DEBORAH KOBZA· Confidential                              December 18, 2019
             IRA KLEIMAN vs CRAIG WRIGHT                                             31

  NA    ·1· ·connection with its best practices work?
        ·2· · · · · · MR. PASCHAL:· Objection, form.
        ·3· ·BY MR. DELICH:
        ·4· · · ·Q.· ·So, can you tell me a little bit more about
        ·5· ·what your work at GICSR entailed in terms of the best
        ·6· ·practices project?· I believe that's what you referred
        ·7· ·to it as, right?
        ·8· · · ·A.· ·Yeah, it was an effort to bring together
        ·9· ·representatives from industry and academia to kind of
        10· ·connect the dots to put together an IT security kind of
AA-R    11· ·framework, you know, best practices.· When you're
        12· ·developing systems and that type of thing or -- or
        13· ·doing your policies and procedures, what types of best
        14· ·practices you need for IT security.· So that was the --
        15· ·the effort to do that.
        16· · · · · · I used -- gosh, I think we used SharePoint for
        17· ·a little bit just to help with, you know, doing some
        18· ·research and putting best practices documents and
        19· ·things like that up, but there wasn't any software we
        20· ·needed, I mean, other than, you know, like Microsoft
        21· ·Word, PowerPoint, you know, to do presentations and
        22· ·things like that in.
        23· · · ·Q.· ·Was GICSR a for-profit enterprise?
        24· · · ·A.· ·No.· No.
        25· · · ·Q.· ·What kind of --


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           Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 32 of 54
                 DEBORAH KOBZA· Confidential                              December 18, 2019
                 IRA KLEIMAN vs CRAIG WRIGHT                                             32

            ·1· · · ·A.· ·Nonprofit.
    AA-R
            ·2· · · ·Q.· ·You've looked at a lot of documents today.
            ·3· · · ·A.· ·Uh-huh.
            ·4· · · ·Q.· ·What is your reaction to seeing some of these
     R

            ·5· ·for the first time?
            ·6· · · · · · MR. PASCHAL:· Objection, form.
            ·7· · · ·A.· ·My mouth is a little dry.
    NA-R
            ·8· · · · · · (Witness took a drink of water.)
            ·9· · · · · · It's a continuation of the shock that I
            10· ·received when I got the first phone call about this.
            11· ·Seeing written evidence of somebody that's stolen your
            12· ·identity and is committing fraud and, you know, using
            13· ·your name and the name of the small nonprofit I had
            14· ·is -- is shocking and appalling.· I'm very, very upset.
            15· ·To the point of filing my own lawsuit for fraud and
            16· ·identity theft.· I mean, it's -- it's shocking that
UP-LEC-R
            17· ·someone that was represented to me that worked for a
            18· ·university could move on to do things like this.
            19· · · · · · You know, you see things about people getting
            20· ·impacted by crime and things like that and how they
            21· ·feel helpless, and that's how I feel.· It's -- it makes
            22· ·me sick to my stomach.· I mean, I'm just being
            23· ·perfectly honest.
            24· · · ·Q.· ·I have nothing further.
            25· · · · · · MR. PASCHAL:· Okay.· Let's take a few minutes.


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 33 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             33

 ·1· · · ·I have some questions.
 ·2· · · · · · THE VIDEOGRAPHER:· Okay.· We're going off the
 ·3· · · ·record.· The time is approximately 10:45 a.m.
 ·4· · · · · · (Recess.)
 ·5· · · · · · THE VIDEOGRAPHER:· We're back on the record.
 ·6· · · ·The time is approximately 10:51 a.m.
 ·7· · · · · · · · · · · CROSS EXAMINATION
 ·8· ·BY MR. PASCHAL:
 ·9· · · ·Q.· ·Can you say your last name again?· I don't
 10· ·want to --
 11· · · ·A.· ·Kobza.
 12· · · ·Q.· ·Ms. Kobza, I represent Dr. Craig Wright.
 13· · · ·A.· ·Uh-huh.
 14· · · ·Q.· ·I just have a few questions for you.· And just
 15· ·to be clear, you have no knowledge of Craig Wright's
 16· ·involvement in Bitcoin, right?· And I should clarify.
 17· ·Personal knowledge.· Not knowledge you received from
 18· ·counsel or --
 19· · · ·A.· ·No, no.· I don't believe in any of our, like,
 20· ·phone conversations or anything -- I mean, I knew he
 21· ·worked on other things, but I don't know of him, you
 22· ·know, forming a Bitcoin organization or anything like
 23· ·that.
 24· · · ·Q.· ·Do you know of him doing any work with David
 25· ·Kleiman?


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 34 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             34

 ·1· · · ·A.· ·Not that I remember.
 ·2· · · ·Q.· ·You don't know David Kleiman, right?
 ·3· · · ·A.· ·Not that I remember, no.
 ·4· · · ·Q.· ·Okay.· And you don't know anything about W&K
 ·5· ·Info Defense Research, right?
 ·6· · · ·A.· ·No, not that I can remember, no.
 ·7· · · ·Q.· ·And you don't remember having personal
 ·8· ·knowledge of Craig Wright and David Kleiman mining
 ·9· ·Bitcoin?
 10· · · ·A.· ·Mining Bitcoin?
 11· · · ·Q.· ·Yeah.
 12· · · ·A.· ·I would say no because I didn't even know
 13· ·anything about mining Bitcoin probably until a couple
 14· ·of years ago because I didn't -- I mean, I know there
 15· ·was -- back in the -- 2010, 2014, you know, they were
 16· ·talking about crypto -- well, not even 2010 -- talking
 17· ·about cryptocurrency, but I didn't know how it worked,
 18· ·didn't know what Bitcoin was, and I still don't quite
 19· ·understand how the mining works because I don't -- I
 20· ·think it's a scam.· I don't participate in it.
 21· · · ·Q.· ·Okay.· And you mentioned that you've spoken
 22· ·with counsel before this deposition, right?· With
 23· ·this -- with plaintiff's counsel.
 24· · · ·A.· ·Yeah, someone from their office in Miami had
 25· ·contacted me.


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 35 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             35

 ·1· · · ·Q.· ·Okay.· And when you had that conversation, was
 ·2· ·it by phone?
 ·3· · · ·A.· ·Yes.
 ·4· · · ·Q.· ·How long was the conversation for; do you
 ·5· ·remember?
 ·6· · · ·A.· ·I don't know, maybe 15, 20 minutes or so.· It
 ·7· ·had to be less than 30 minutes.
 ·8· · · ·Q.· ·Okay.· And on that call, did you explain that
 ·9· ·you did not know about Dave Kleiman's involvement with
 10· ·Bitcoin?
 11· · · ·A.· ·I don't think that was part of the
 12· ·conversation.· I'm trying to remember.· Because I
 13· ·was -- it took a good part of the conversation at the
 14· ·beginning because I didn't know if it was a joke or
 15· ·what it was because I never heard about this lawsuit or
 16· ·anything like that and they were just, you know,
 17· ·telling me about the lawsuit.· And they read off some
 18· ·names, do you know this person, do you know this
 19· ·person, do you know this person, so I don't remember if
 20· ·he was one of the ones that they mentioned.
 21· · · ·Q.· ·Okay.
 22· · · ·A.· ·But --
 23· · · ·Q.· ·But did you tell them that you really have no
 24· ·knowledge of this lawsuit?
 25· · · ·A.· ·Yes, I did not know anything about the lawsuit


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 36 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             36

 ·1· ·until -- until then.
 ·2· · · ·Q.· ·So I'm going to hand you what I'm going to
 ·3· ·mark as Exhibit, I think, No. 4?
 ·4· · · · · · THE REPORTER:· Do you want to keep going?
 ·5· · · · · · MR. PASCHAL:· Yeah, keep going.
 ·6· · · ·A.· ·I'm trying to remember when they served the --
 ·7· ·the first subpoena, that was before or after I got that
 ·8· ·phone call, but I can't remember.· But, anyway, okay.
 ·9· · · · · · (Plaintiff's Exhibit-7 was marked for
 10· · · ·identification.)
 11· ·BY MR. PASCHAL:
 12· · · ·Q.· ·So the title of this document, do you see it?
 13· · · ·A.· ·U.S. District Court, Southern District of
 14· ·Florida?
 15· · · ·Q.· ·Uh-huh.· Where it says Plaintiffs' Rule
 16· ·26(a)(1)?
 17· · · ·A.· ·Plaintiffs' -- like, that first paragraph
 18· ·under that first title?· Is that what you're referring
 19· ·to?
 20· · · ·Q.· ·Yeah.
 21· · · ·A.· ·Estate of David Kleiman and the research --
 22· ·yeah, whatever it is.
 23· · · ·Q.· ·It's not numbered by page, but could you go to
 24· ·page 3 and look at paragraph 6?
 25· · · ·A.· ·(The document was examined.)


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 37 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             37

 ·1· · · ·Q.· ·Global Institute of Cyber Security Research,
 ·2· ·that's a company that you funded?
 ·3· · · ·A.· ·(The document was examined.)
 ·4· · · · · · I don't know how Craig Wright thinks he -- I
 ·5· ·mean, that's -- that's a complete -- you know, I've
 ·6· ·never worked with him and this Dave -- Dave person in
 ·7· ·collaborating to creat Bitcoin, mining bitcoins, how he
 ·8· ·saved the assets, trusts --
 ·9· · · ·Q.· ·So is it fair to say that this paragraph is a
 10· ·false statement?
 11· · · ·A.· ·It definitely is.
 12· · · ·Q.· ·Okay.· And then let's go to paragraph 7.· Is
 13· ·that your name?
 14· · · ·A.· ·Yeah.
 15· · · ·Q.· ·And can you review -- well, I'll read it out.
 16· ·"Information related to Craig and Dave's collaboration
 17· ·of creating Bitcoin, mining bitcoins, and Craig's use
 18· ·of intellectual property developed by Dave."
 19· · · · · · Do you have any information related to any of
 20· ·that?
 21· · · ·A.· ·No.
 22· · · ·Q.· ·So that's a false statement?
 23· · · ·A.· ·I don't know -- I don't know anything.
 24· · · · · · MR. DELICH:· Objection.
 25· ·BY MR. PASCHAL:


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 38 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             38

 ·1· · · ·Q.· ·So is that a false statement?
 ·2· · · ·A.· ·(The document was examined.)
 ·3· · · · · · Yes, I have not worked with them in creating
 ·4· ·Bitcoin, mining Bitcoin, or intellectual property.
 ·5· · · ·Q.· ·Sorry.· And the next sentence, it says, "How
 ·6· ·Craig has subsequently used and/or saved these assets."
 ·7· ·Is that statement false?· Do you have any information?
 ·8· · · · · · MR. DELICH:· Objection.
 ·9· · · ·A.· ·I don't know how he has used or saved assets.
 10· ·I don't know.
 11· ·BY MR. PASCHAL:
 12· · · ·Q.· ·Okay.· And then the last sentence is, "And
 13· ·various trusts where plaintiffs' Bitcoin may be held,"
 14· ·is that false?
 15· · · · · · MR. DELICH:· Objection.
 16· ·BY MR. PASCHAL:
 17· · · ·Q.· ·Do you have information related to that?
 18· · · ·A.· ·I have no information related to any trust, I
 19· ·don't know what Craig Wright is doing or what this
 20· ·David Kleiman is doing.
 21· · · ·Q.· ·Is this last sentence right, "Ms. Kobza is
 22· ·located in Merritt Island, Florida"?
 23· · · ·A.· ·No, that's false.
 24· · · ·Q.· ·Okay.
 25· · · ·A.· ·I'm located in St. Augustine, Florida.


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 39 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             39

 ·1· · · ·Q.· ·I just want to ask -- ask some questions about
 ·2· ·your testimony earlier that --
 ·3· · · ·A.· ·Uh-huh.
 ·4· · · ·Q.· ·-- Dr. Wright was on the board of advisors and
 ·5· ·not the board of directors?
 ·6· · · ·A.· ·No, he was never on the board of directors.
 ·7· ·He was never an officer of the -- of the organization
 ·8· ·or on the board of directors.
 ·9· · · ·Q.· ·He was on the board of advisors, you said.
 10· · · ·A.· ·It was -- I wouldn't really say board of
 11· ·advisors.· I would say an advisory board.· It's where
 12· ·we had different folks that would help -- kind of help
 13· ·guide the research and things that we were doing.
 14· · · ·Q.· ·Okay.· And in your business, you understand
 15· ·the importance of title and, you know, because it gives
 16· ·someone the appearance that they have authority, right?
 17· · · ·A.· ·Sure.
 18· · · ·Q.· ·So you -- okay.
 19· · · · · · I'll show you what we're marking as 8.
 20· · · · · · (Plaintiff's Exhibit-8 was marked for
 21· · · ·identification.)
 22· ·BY MR. PASCHAL:
 23· · · ·Q.· ·And this is in 2011.· Do you remember this
 24· ·email?
 25· · · ·A.· ·Well, wait a minute, let me look at it.


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 40 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             40

 ·1· · · ·Q.· ·Uh-huh.
 ·2· · · ·A.· ·(The document was examined.)
 ·3· · · · · · Yeah, it seems like I remember --
 ·4· · · ·Q.· ·Okay.· Will you go to the second page of this
 ·5· ·email, which is 00796833?
 ·6· · · ·A.· ·Okay.
 ·7· · · ·Q.· ·You sent an email to a group of people
 ·8· ·including Dr. Wright about a meeting.· Do you see that?
 ·9· · · ·A.· ·Down at the bottom?
 10· · · ·Q.· ·Yeah.· Okay.
 11· · · ·A.· ·Yeah.
 12· · · ·Q.· ·And then Dr. Wright responds, "Hi.· I did not
 13· ·get the webinar invite.· I have the other."
 14· · · · · · Do you see that?
 15· · · ·A.· ·Yeah.
 16· · · ·Q.· ·Okay.· And you see his signature block?
 17· · · ·A.· ·Yeah.
 18· · · ·Q.· ·It says Dr. Craig Wright, some letters, and
 19· ·the second line it says, "Director, Australia - Asia
 20· ·Pacific," and then right under that, it says, "GICSR."
 21· · · ·A.· ·Uh-huh.
 22· · · ·Q.· ·And that is the address for your company,
 23· ·right?
 24· · · ·A.· ·Yeah, at that time, it was that address.· We
 25· ·have since moved from that address, but at that time,


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 41 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             41

 ·1· ·it was.
 ·2· · · ·Q.· ·Okay.· So when he responds that he's a
 ·3· ·director of GICSR, your response to him was, "Hi,
 ·4· ·Craig, Technology!· AUGH!!!"
 ·5· · · ·A.· ·Yeah, because he said he didn't get the
 ·6· ·invite.
 ·7· · · ·Q.· ·Okay.· And then Dr. Wright responds, "Thanks,"
 ·8· ·with the same signature block identifying himself as a
 ·9· ·director of GICSR.
 10· · · ·A.· ·So that is not board of directors.· Many
 11· ·companies have -- when they have, like, a vice
 12· ·president of operations or they have a director for
 13· ·security operations, director of HR, those types of
 14· ·things, they are not on the board of directors, they're
 15· ·not an officer of the organization.
 16· · · · · · Like I said earlier, Richard Zaluski, who
 17· ·introduced me to Craig White, he brought Craig Wright
 18· ·in on that research project and they both said that
 19· ·they would help build the research project and get
 20· ·people to participate from the UK, you know, from
 21· ·Europe.· And Craig was going to concentrate on
 22· ·Australia and Asia Pacific to get folks from
 23· ·universities and companies to maybe participate in
 24· ·workshops and that type of thing.
 25· · · · · · So from that perspective, he was directing


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 42 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             42

 ·1· ·that type of thing, but he was not on the board of
 ·2· ·directors.
 ·3· · · ·Q.· ·And I think -- I don't know, I think this may
 ·4· ·be marked as 1.
 ·5· · · · · · MR. PASCHAL:· Do you have your exhibits?
 ·6· · · · · · MR. DELICH:· (A document was handed.)
 ·7· · · · · · MR. PASCHAL:· I think it was, like, 1 or 2.
 ·8· · · · · · MR. DELICH:· (A document was handed.)
 ·9· ·BY MR. PASCHAL:
 10· · · ·Q.· ·You mentioned Mr. Zaluski -- Zaluski?
 11· · · ·A.· ·Uh-huh.
 12· · · ·Q.· ·Okay.· And his email which is on March 24,
 13· ·2011 to Dr. Craig Wright --
 14· · · ·A.· ·Isn't this the one I looked at before?
 15· · · ·Q.· ·Yes.
 16· · · ·A.· ·Okay.
 17· · · ·Q.· ·In the first paragraph, second sentence, he
 18· ·says, "I have spoken with our GICSR management team and
 19· ·our group and we would like to invite you to be on our
 20· ·board of directors for GICSR."· Then -- I guess because
 21· ·of the time difference, but shortly after, Dr. Wright
 22· ·responds to Mr. Zaluski and says, "Consider it
 23· ·accepted."
 24· · · ·A.· ·Yes, and as you can see, I was not copied on
 25· ·that email, and Mr. Zaluski had no authority to do


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 43 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             43

 ·1· ·that.· If I had, you know, any -- anybody to -- that
 ·2· ·would be on the board of directors would have to be
 ·3· ·authorized by me.· Mr. Zaluski had no authority to do
 ·4· ·that.
 ·5· · · ·Q.· ·Okay.· And do you have any emails where you've
 ·6· ·explained to Mr. Zaluski that he has no authority to do
 ·7· ·that?
 ·8· · · ·A.· ·I don't have any emails.· I know there's been
 ·9· ·phone conversations because -- with Mr. Zaluski on that
 10· ·because he -- I wasn't going to put him on the board of
 11· ·directors and I told him I wasn't going to put him on
 12· ·the board of directors.· And then we kind of -- after
 13· ·things didn't go anywhere, we kind of parted ways and
 14· ·the last I heard with him, he was -- I was told he was
 15· ·standing up an organization in the UK that had a name
 16· ·similar to GICSR, but I didn't investigate it or
 17· ·anything.
 18· · · ·Q.· ·Okay.
 19· · · ·A.· ·Yeah, because if anybody was going to be on
 20· ·the board of GICSR, it would be represented in a board
 21· ·of directors agreement that they would have to sign.
 22· · · ·Q.· ·Okay.
 23· · · · · · MR. PASCHAL:· And can you get this exhibit?
 24· · · · · · MR. DELICH:· (A document was handed.)
 25· ·BY MR. PASCHAL:


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 44 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             44

 ·1· · · ·Q.· ·(A document was handed.)
 ·2· · · · · · On Exhibit 5 --
 ·3· · · ·A.· ·This is one I looked at before?
 ·4· · · ·Q.· ·Yes.
 ·5· · · ·A.· ·Okay.
 ·6· · · ·Q.· ·Under parties, your name is not listed,
 ·7· ·correct?
 ·8· · · ·A.· ·That's right.
 ·9· · · ·Q.· ·Okay.· Let me get to the exact page that
 10· ·counsel was looking at.· Okay.· Can you turn to page
 11· ·11, which is 00552206?
 12· · · ·A.· ·Page 11, the reference schedule?
 13· · · ·Q.· ·Yes.
 14· · · ·A.· ·Okay.
 15· · · ·Q.· ·GICSR did business around the world, right?
 16· · · ·A.· ·No.
 17· · · · · · THE REPORTER:· Did business what?
 18· · · · · · MR. PASCHAL:· Around the world.
 19· · · ·A.· ·No, we didn't do business around the world.
 20· ·We worked -- we didn't have business transactions or
 21· ·contracts or anything like that around the world at
 22· ·all.
 23· ·BY MR. PASCHAL:
 24· · · ·Q.· ·But you had people that worked around the
 25· ·world, right?


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 45 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             45

 ·1· · · ·A.· ·No.· I mean, I had -- I didn't have people
 ·2· ·that were employed by GICSR that worked around the
 ·3· ·world.· We had volunteers and people, you know, that
 ·4· ·worked to help advise on things, but -- but, no, I did
 ·5· ·not have people employed around the world doing work.
 ·6· · · ·Q.· ·So when Mr. Zaluski told Craig Wright that he
 ·7· ·would be meeting up with Mr. Zaluski, the Australia and
 ·8· ·Asia side of the company, was that completely false?
 ·9· · · ·A.· ·That they would be leading the research part
 10· ·for that -- you know, for the UK and for Australia
 11· ·and -- and that type of thing, that they would be, you
 12· ·know, directing, kind of bringing people together for
 13· ·that research project, but they're not an officer of
 14· ·the organization or had the authority to transact
 15· ·business.· They didn't have the authority to enter into
 16· ·any contracts.
 17· · · ·Q.· ·My question is very -- you can finish.· I'm
 18· ·sorry.
 19· · · ·A.· ·No, go ahead, I'm sorry.
 20· · · ·Q.· ·My question is very, very simple.
 21· · · · · · Were -- people affiliated with GICSR, did you
 22· ·have people around the world?
 23· · · ·A.· ·Well, I don't want to give a -- that was very,
 24· ·very limited.· There were people that were
 25· ·participating as far as research projects, but, you


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 46 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             46

 ·1· ·know, like Richard Zaluski and like Dr. Wright.
 ·2· · · ·Q.· ·So when Dr. Wright's title here, it says
 ·3· ·"Director, Australia - Asia Pacific," in your email
 ·4· ·chain that you have with him, is that false?
 ·5· · · ·A.· ·Like I explained, he was not an officer of the
 ·6· ·organization or on the board of directors.· That was to
 ·7· ·help head up that research initiative for that best
 ·8· ·practice research so he could help bring in
 ·9· ·organizations from Australia or, you know, universities
 10· ·or industry and that type of thing because I didn't
 11· ·know anybody in that area.
 12· · · · · · So being that he was at a university and in
 13· ·talking to Richard Zaluski who introduced me to him and
 14· ·researching that Dr. Wright did -- was, in fact,
 15· ·associated with that university, I felt like I had done
 16· ·my due diligence, that he would be able to, you know,
 17· ·maybe bring some people on board for that research
 18· ·project.
 19· · · ·Q.· ·Okay.· But just going back to my question --
 20· · · ·A.· ·Uh-huh.
 21· · · ·Q.· ·-- people -- the people that worked with GI --
 22· ·GICSR, were they outside the United States?
 23· · · · · · MR. DELICH:· Objection.
 24· · · ·A.· ·People that volunteered to help do work were
 25· ·outside of the United States, yes.


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 47 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             47

 ·1· ·BY MR. PASCHAL:
 ·2· · · ·Q.· ·And Dr. Wright was one of them?
 ·3· · · ·A.· ·He was one person that was a volunteer to
 ·4· ·help.· I mean, he was never paid a salary or anything
 ·5· ·like that.· He was a volunteer.
 ·6· · · ·Q.· ·And Dr. Zaluski, he was one of them, as well?
 ·7· · · ·A.· ·Yes, he was -- well, Mr. Zaluski, he was a
 ·8· ·volunteer, as well.
 ·9· · · ·Q.· ·Okay.· So going back to this reference
 10· ·schedule, you don't know the currency that that -- that
 11· ·the license fee is in, do you?
 12· · · ·A.· ·No.· When you say know the currency, I mean, I
 13· ·don't know anything about it, if that's what you're
 14· ·asking.
 15· · · ·Q.· ·Yeah.
 16· · · ·A.· ·Yeah.
 17· · · ·Q.· ·But if it were in British pounds, you wouldn't
 18· ·know.
 19· · · · · · MR. DELICH:· Objection.
 20· · · ·A.· ·No, I don't understand how currency, you know,
 21· ·changes for countries, so, no.· I have no need to know.
 22· ·BY MR. PASCHAL:
 23· · · ·Q.· ·And on page 12, you have your name and it
 24· ·says, "Executive Director, NH-ISAC"?
 25· · · ·A.· ·Yes, I don't know why that is there.


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 48 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             48

 ·1· · · ·Q.· ·Okay.· That company isn't one of the parties
 ·2· ·on the first page, is it?
 ·3· · · ·A.· ·No.
 ·4· · · ·Q.· ·It has nothing to do with these parties, does
 ·5· ·it?
 ·6· · · ·A.· ·No, nothing at all.· And that is not my
 ·7· ·signature.· Far from it.· That's definitely identity
 ·8· ·theft.
 ·9· · · ·Q.· ·But you know nothing about this -- this
 10· ·document.
 11· · · ·A.· ·This document here?· No.
 12· · · ·Q.· ·Okay.
 13· · · ·A.· ·The first time I've ever seen it.
 14· · · · · · Oh, y'all need these back, right?
 15· · · ·Q.· ·I think that's it.
 16· · · · · · MR. DELICH:· If we can just take a short break
 17· · · ·and then I might have just a couple questions.
 18· · · · · · MR. PASCHAL:· Okay.
 19· · · · · · THE VIDEOGRAPHER:· We're going off the record.
 20· · · ·The time is approximately 11:11 a.m.
 21· · · · · · (Recess.)
 22· · · · · · THE VIDEOGRAPHER:· We are back on the record.
 23· · · ·The time is approximately 11:15 a.m.· Thank you.
 24· · · · · · · · · · REDIRECT EXAMINATION
 25· ·BY MR. DELICH:


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           Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 49 of 54
                  DEBORAH KOBZA· Confidential                             December 18, 2019
                  IRA KLEIMAN vs CRAIG WRIGHT                                            49

               ·1· · · ·Q.· ·So I'm going to hand you back Exhibit 5 again.
               ·2· · · ·A.· ·Uh-huh.
       H-F-R
               ·3· · · ·Q.· ·The last page there.
               ·4· · · ·A.· ·Yes, sir.
               ·5· · · ·Q.· ·Is it your testimony that the signature on
LEC-L-H-F-R
               ·6· ·that document is a -- is a forgery?
               ·7· · · ·A.· ·Yes, absolutely.
               ·8· · · ·Q.· ·Now, you just testified that GICSR had a
               ·9· ·number of volunteers around the world who --
               10· · · ·A.· ·It wasn't -- it was a handful.· I mean, it

   R
               11· ·wasn't -- that's why I was asking other -- another
               12· ·question because I felt he was kind of representing we
               13· ·had people all over the world, but it was, you know,
               14· ·just a handful.
               15· · · ·Q.· ·Were any of those volunteers authorized to
               16· ·create or establish trusts on behalf of GICSR?
               17· · · ·A.· ·Absolutely not.
               18· · · · · · MR. PASCHAL:· Objection, form.
               19· · · ·A.· ·No.
               20· · · · · · MR. DELICH:· That's all I've got.
               21· · · · · · THE VIDEOGRAPHER:· Read or waive on record?
               22· · · ·Did you want to put that on record, read or waive?
               23· · · · · · MR. PASCHAL:· Oh, yeah.
               24· · · · · · THE VIDEOGRAPHER:· Having heard the approval
               25· · · ·of all attorneys to go off the record at this time,


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 50 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             50

 ·1· ·this concludes disc 1, volume 1 of the deposition
 ·2· ·of Deborah Kobza.· We're off the record.· The time
 ·3· ·is approximately 11:16 a.m.
 ·4· · · · (Discussion off the video record.)
 ·5· · · · THE WITNESS:· I would like to attest to what I
 ·6· ·said because I recorded what I said here, as well,
 ·7· ·so you never assume, so -- I mean, I know what I
 ·8· ·said, but if there's any question, I've got a way
 ·9· ·to go back and make sure it is what I said.
 10· · · · MR. PASCHAL:· Just to be clear --
 11· · · · THE VIDEOGRAPHER:· That was not on video
 12· ·record.
 13· · · · MR. PASCHAL:· -- I marked portions of the
 14· ·deposition as confidential, and I don't have the
 15· ·sheet, but I could send you a copy of the
 16· ·confidentiality order.
 17· · · · THE WITNESS:· What do you mean, parts are
 18· ·confidential?
 19· · · · MR. DELICH:· So one of the exhibits --
 20· · · · MR. PASCHAL:· Actually, I think it was two.
 21· · · · MR. DELICH:· -- two are subject to a
 22· ·protective order.· So that section of the
 23· ·recording, that he -- and he mentioned it on the
 24· ·record as being subject to that protective order.
 25· · · · THE WITNESS:· So what you're saying is, like,


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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 51 of 54
      DEBORAH KOBZA· Confidential                              December 18, 2019
      IRA KLEIMAN vs CRAIG WRIGHT                                             51

 ·1· ·the recording would have that part removed?
 ·2· · · · MR. DELICH:· Yeah, you just --
 ·3· · · · MR. PASCHAL:· Well, no, it's more for the
 ·4· ·deposition transcript, so --
 ·5· · · · MR. DELICH:· So, basically, it would be to not
 ·6· ·disseminate that section to anybody and to keep it
 ·7· ·confidential.
 ·8· · · · THE WITNESS:· Oh, absolutely.
 ·9· · · · MR. DELICH:· Okay.
 10· · · · (Witness excused.)
 11· · · · (The deposition was concluded at 11:17 a.m.)
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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 52 of 54
       DEBORAH KOBZA· Confidential                             December 18, 2019
       IRA KLEIMAN vs CRAIG WRIGHT                                            52

 ·1· · · · · · · · · · · · ·CERTIFICATE

 ·2

 ·3

 ·4· ·STATE OF FLORIDA)
 · · ·COUNTY OF DUVAL )
 ·5

 ·6·   · · · · · · · I, Sandra G. Pemberton, RPR, CRR, certify
 · ·   ·that I was authorized to and did stenographically
 ·7·   ·report the deposition of Deborah Kobza; that a review
 · ·   ·of the transcript was requested; and that the
 ·8·   ·transcript is a true and complete record of my
 · ·   ·stenographic notes.
 ·9

 10·   · · · · · · · I further certify that I am not a
 · ·   ·relative, employee, attorney, or counsel of any of the
 11·   ·parties, nor am I a relative or employee of any of the
 · ·   ·parties' attorneys or counsel connected with the
 12·   ·action, nor am I financially interested in the action.

 13
 · · · · · · · · · DATED this 31st day of December, 2019.
 14

 15

 16· · · · · · · · · · ·Sandra G. Pemberton, RPR, CRR, FPR

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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 53 of 54
       DEBORAH KOBZA· Confidential                                   December 18, 2019
       IRA KLEIMAN vs CRAIG WRIGHT                                                  53

 ·1· · · · · · · · · · ·CERTIFICATE OF OATH

 ·2

 ·3
 · · ·STATE OF FLORIDA· )
 ·4· ·COUNTY OF DUVAL· ·)

 ·5

 ·6
 · · · · · · · · · I, the undersigned authority, certify that
 ·7· ·Deborah Kobza personally appeared before me and was
 · · ·duly sworn.
 ·8

 ·9
 · · · · · · · · · WITNESS my hand and official seal this
 10· ·31st day of December, 2019.

 11

 12·   ·   ·   ·   ·   ·   ·   ·   ·   ·   ____________________________________
 · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   Sandra G. Pemberton
 13·   ·   ·   ·   ·   ·   ·   ·   ·   ·   Notary Public - State of Florida
 · ·   ·   ·   ·   ·   ·   ·   ·   ·   ·   My Commission No. GG169455
 14·   ·   ·   ·   ·   ·   ·   ·   ·   ·   Expires:· January 13, 2022

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Case 9:18-cv-80176-BB Document 600-9 Entered on FLSD Docket 06/26/2020 Page 54 of 54
       DEBORAH KOBZA· Confidential                             December 18, 2019
       IRA KLEIMAN vs CRAIG WRIGHT                                            54

 ·1· · · · · · · · · · · · ·ERRATA SHEET

 ·2· ·IN RE:· Kleiman v. Wright

 ·3· ·PAGE· ·LINE· · CHANGE· · · · · · ·REASON

 ·4· ·_____· _____· ·________________· ·_____________________

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 19· ·_____· _____· ·________________· ·_____________________

 20· ·_____· _____· ·________________· ·_____________________

 21· ·_____· _____· ·________________· ·_____________________

 22·   · · · · · · · Under penalties of perjury, I declare that
 · ·   ·I have read the foregoing pages of my deposition and
 23·   ·that it is true and correct, subject to any changes in
 · ·   ·form or substance entered here.
 24
 · ·   ·___________________· · · · · · · ______________________
 25·   ·Date· · · · · · · · · · · · · · ·Deborah Kobza


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